Case 2:14-cv-05230-MWF-JEM Document 64 Filed 08/17/15 Page 1 of 5 Page ID #:1265



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  5 And Counsel for Plaintiff-Appellant Tammy G. Federman
  6 [Additional counsel appear on signature page]
  7
  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
                                   WESTERN DIVISION
 11
 12
 13
                                            Lead Case No. 14-CV-5230-MWF
 14    IN RE AMERICAN APPAREL,              (JEMx)
       INC. 2014 DERIVATIVE
 15                                         Consolidated with Case No. 14-CV-5699-
       SHAREHOLDER LITIGATION
                                            MWF (JEMx)
 16
       This Document Relates To:
 17                                         NOTICE OF APPEAL
 18               All Actions.
 19                                         Judge: Hon. Michael W. Fitzgerald
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  1         Notice is hereby given that Plaintiff-Appellant Tammy G. Federman in the

  2 above-captioned case hereby appeals to the United States Court of Appeals for the
  3
      Ninth Circuit from the following orders: (1) the Order Granting and Denying
  4
  5 Defendants’ Motions to Dismiss (Docket No. 60) entered on April 28, 2015; and (ii)
  6 the Judgment and Order (Docket No. 63) entered on July 17, 2015. True and correct
  7
      copies of the orders cited above are attached as Exhibits 1 and 2 hereto.
  8
  9
      Dated: August 17, 2015                 WEISSLAW LLP
 10                                          Leigh A. Parker
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                                             By:   s/ Leigh A. Parker
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                                                   -and-
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                                             Counsel for Plaintiff-Appellant Tammy G.
 19                                          Federman
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  1                              CERTIFICATE OF SERVICE

  2         I hereby certify that on August 17, 2015, I electronically filed the document

  3 listed below with the Clerk of the Court using the CM/ECF system which will send
  4
      notification of such filing to electronic mail addresses registered, as denoted on the
  5
  6 attached Electronic Mail List, and caused to be mailed a true and correct copy of the
  7 following document via the United States Postal Service to the non-CM/ECF
  8
      participants indicated on the attached Manual Notice List:
  9
 10 NOTICE OF APPEAL
 11         I declare that I am employed in the office of a member of the bar of this Court
 12
      at whose direction service was made.
 13
 14         Executed on August 17, 2015, at Los Angeles, California, 90025.

 15
 16
                                                     s/ Leigh A. Parker
 17                                                 Leigh A. Parker
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  1 Mailing Information for a Case
    2:14-cv-05230-MWF-JEM
  2 In re American Apparel, Inc. 2014 Derivative Shareholder Litigation
  3 Electronic Mail Notice List
  4
        The following are those who are currently on the list to receive e-mail notices for
  5
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       (No manual recipients)
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